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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
                                    )
                                    )
KAREN READ,                         )
            Petitioner              )
                                    )
v.                                  )                                No. 25-CV-10399-FDS
                                    )
NORFOLK COUNTY SUPERIOR             )
COURT, MASSACHUSETTS                )
ATTORNEY GENERAL,                   )
            Respondents             )
                                    )
___________________________________ )

                                NOTICE OF APPEARANCE

       Now comes Attorney Martin G. Weinberg and hereby files his appearance of counsel on

behalf of the petitioner Karen Read in the above-captioned matter.


                                                    Respectfully Submitted,


                                                    /s/ Martin G. Weinberg
                                                    Martin G. Weinberg, Esq.
                                                    Mass. Bar No. 519480
                                                    20 Park Plaza, Suite 1000
                                                    Boston, MA 02116
                                                    (617) 227-3700
                                                    owlmgw@att.net

Dated: February 18, 2025




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                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, February 18, 2025, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.
                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg, Esq.




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